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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                     (at London)

 UNITED STATES OF AMERICA,                       )
                                                 )
        Plaintiff/Respondent,                    )      Criminal Action No. 6: 05-30-DCR
                                                 )       Civil Action No. 6: 06-352-DCR
 V.                                              )
                                                 )
 ROBERT N. DEMLING,                              )        MEMORANDUM OPINION
                                                 )            AND ORDER
        Defendant/Petitioner.                    )

                                      *** *** *** ***

       This matter is pending for consideration of Defendant/Petitioner Robert N. Demling’s

(“Demling”) Petition for Writ of Habeas Corpus filed pursuant to 28 U.S.C. § 2255. According

to local practice, the matter was referred to United States Magistrate Judge Robert E. Wier for

the preparation of a Recommendation Disposition under 28 U.S.C. §636(b)(1)(B). Following

review, the Magistrate Judge recommended that Demling’s petition be denied, with prejudice,

that his request for an evidentiary hearing be denied, and that a certificate of appealability issue

regarding his claim for ineffective assistance of counsel.

       Demling filed objections to the Magistrate Judge’s Recommended Disposition on June

11, 2007, August 15, 2007, and again on September 4, 2007, raising the same arguments he

raised in his initial briefs and supplementing his claim for ineffective assistance of counsel with

affidavits. Having reviewed these objections and the attachments, the record before the Court,

and the relevant law de novo, this Court agrees with the Magistrate Judge’s recommendations.



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Accordingly, Demling’s petition will be denied. However, the Court will issue a certificate of

appealability on Demling’s claim for ineffective assistance of counsel.

        I.      Factual Background

        On September 1, 2006, Demling was charged in four counts of a forty-three count

superceding indictment resulting from the United States’ investigation into an extensive drug

conspiracy known as the “Kenny Day Organization.” The relevant counts charged that Demling

conspired with others to possess with intent to distribute 1,000 kilograms or more of marijuana

in violation of 21 U.S.C. §§ 841 and 846 (Count 2), and that he knowingly and intentionally

distributed marijuana on April 27, 2005, in violation of 21 U.S.C. § 841 (Count 20).                   The

remaining two forfeiture counts involved property and proceeds allegedly related to the drug

trafficking conspiracy.

        On October 24, 2005, Demling plead guilty to all four counts charged in the Indictment.

In his plea agreement, Demling acknowledge that he conducted numerous marijuana transactions

with Kenny Day and another co-Defendant, Terry Holland.1 Additionally, Demling admitted

that, during the course of the conspiracy, he received between 2,500 and 5,000 pounds of

marijuana from Day and his associates. He was sentenced on February 13, 2006, to a total term

of 200 months imprisonment and ten years of supervised release.

        At the sentencing hearing, the Court determined that the applicable guideline range was

121 to 151 months, based on a total offense level of 29 and a criminal history category of IV.

The United States moved for a downward departure pursuant to § 5K1.1 and 18 U.S.C. §


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        Pursuant to his plea agreement, Demling waived his right to appeal or collaterally attack his guilty
plea and conviction.

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3553(e), based on Demling’s cooperation. However, because a mandatory minimum sentence

of 240 months applied to Count 2 (the conspiracy count), the Court departed from the mandatory

minimum rather than the guideline range. The Court departed by 40 months, resulting in the

total term of imprisonment of 200 months.

         Following the sentencing hearing, Demling met with his attorneys, Barbara C. Carnes and

William G. Crabtree, to discuss the possibility of an appeal. Apparently, Demling desired to

appeal, but his counsel advised him that they did not believe he had any valid grounds to appeal.

After discussing the matter, Demling understood his counsels’ concerns and agreed not to

appeal. [Record Nos. 778, 804, 878] However, Demling claims that he changed his mind and

that he and his family attempted to contact his counsel several times over the next few days to

express Demling’s desire to appeal.

         In his petition, Demling asserts three claims for habeas relief. First, he contends that his

counsel provided ineffective assistance by failing to perfect his appeal. Second, he asserts that

the Court erred in sentencing him because it departed from the mandatory minimum rather than

the recommended guideline range. Finally, Demling claims that his sentence was unlawful

because the Court considered three prior DUI convictions in calculating his criminal history

score.

         In his Recommended Disposition, the Magistrate Judge found that Demling failed to give

his counsel “express instructions” to file an appeal, and that a defendant’s “desire to appeal” was

insufficient to trigger a constitutional issue under Regalado v. United States, 334 F.3d 520, 524

(6th Cir. 2003). The Magistrate Judge noted that Demling had requested additional time to



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obtain affidavits to substantiate his claims, but failed to ever file a Reply. Additionally, the

Magistrate Judge found that Demling’s claims regarding the Court’s departure from the

mandatory minimum and its consideration of three prior DUI convictions were without merit

under United States v. Stewart, 306 F.3d 295 (6th Cir. 2002). However, because the Magistrate

Judge concluded that a hypothetical “jurist” could find the Sixth Amendment issue debatable,

he recommended that a certificate of appealability issue as to that limited issue.

       Following the Magistrate Judge’s review, the United States tendered a Reply which was

previously received by its office from Demling. [Record No. 861] The Court afforded Demling

an opportunity to supplement the record and explain why his Reply was never filed in the

Court’s record, but Demling failed to offer any explanation.          [Record Nos. 865, 869]

Accordingly, the Magistrate Judge issued a Supplement to the Recommended Disposition, noting

Demling’s failure to explain the deficiency and concluding that his recommendation remained

unchanged because “Demling has presented no argument or request related to the previously-

unfiled reply brief.” [Record No. 873]

       To date, Demling has still failed to explain why the Reply brief was never filed in the

record. However, he has tendered the brief and an attached affidavit relating to calls made on

his behalf to his counsel and the Assistant United States Attorney. [Record No. 877]

Additionally, he has submitted two sets of objections to the Magistrate Judge’s Recommended

Disposition. [Record Nos. 856, 878]




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       II.     Legal Standard

       Under 28 U.S.C § 2255, “[a] prisoner in custody . . . may move the court which imposed

the sentence to vacate, set aside or correct the sentence.” 28 U.S.C. § 2255. In making such a

petition, a prisoner may claim that the sentence was imposed in violation of the Constitution or

federal law, that the court was without jurisdiction to impose the sentence, that the sentence was

in excess of the maximum authorized by law, or that it is otherwise subject to collateral attack.

Id. “To prevail on a § 2255 motion alleging constitutional error, the petitioner must establish

an error of constitutional magnitude which had a substantial and injurious effect or influence on

the proceedings.” Watson v. United States, 165 F.3d 486, 488 (6th Cir. 1999) (citations omitted).

Additionally, “[t]o prevail on a § 2255 motion alleging non-constitutional error, the petitioner

must establish a ‘fundamental defect which inherently results in a complete miscarriage of

justice, or, an error so egregious that it amounts to a violation of due process.’” Id. (citations

omitted).

       III.    Analysis

       A district court must make a de novo determination of those portions of a magistrate

judge’s recommended disposition to which an objection is made. 28 U.S.C. § 636(b)(1)(C).

However, “[i]t does not appear that Congress intended to require district court review of a

magistrate’s factual or legal conclusions, under a de novo or any other standard, when neither

party objects to those findings.” Thomas v. Arn, 474 U.S. 140, 150 (1985).

       In the present case, the majority of Demling’s objections relate to the Magistrate Judge’s

determination that his counsel was not ineffective for failing to perfect an appeal because



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Demling failed to expressly instruct that an appeal be filed. According to Demling, the

Magistrate Judge’s narrow reading of Regalado is contrary to the Supreme Court’s holding in

Roe v. Flores-Ortega, 528 U.S. 470 (2000).

         To succeed on an ineffective assistance of counsel claim, a defendant must prove that his

counsel’s performance was deficient and that “the deficient performance prejudiced the defense.”

Strickland v. Washington, 466 U.S. 668, 687 (1984). “Ineffective assistance under Strickland

is deficient performance, with performance being measured against an ‘objective standard of

reasonableness,’ ‘under prevailing professional norms.’” Id. (citations omitted). A petitioner

must then show that there is a reasonable probability that, but for counsel’s inadequate

performance, the results would have been different. Strickland, 466 U.S. at 687. The court’s

scrutiny of counsel’s performance is highly deferential, and counsel is strongly presumed to have

rendered adequate assistance and have made all significant decisions in the exercise of

reasonable professional judgment. Id. at 689; Bigelow v. Williams, 367 F.3d 562, 570 (6th Cir.

2004).

         In the context of an alleged failure to perfect an appeal, it is clearly established that “it

is ‘professionally unreasonable’ for a lawyer to fail to file an appeal when specifically instructed

to do so.” Regalado, 334 F.3d at 524 (quoting Roe, 528 U.S. at 477). However, absent specific

instructions, an attorney is only required to consult with his or her client about the advantages

and disadvantages of an appeal and the client’s wishes. Id. If, after consultation, a defendant

fails to give express instructions to appeal, the defendant cannot meet the first prong of the

Strickland test because he cannot show that his counsel’s performance was deficient. Id. at 526.



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       Here, Demling has failed to ever assert that he expressly instructed his attorneys to file

an appeal. It is undisputed that his attorneys consulted with him as required by the Supreme

Court in Roe, and Demling has failed to offer any evidence or even a bald assertion that he

offered “express instructions “ to file an appeal on his behalf. Instead, Demling repeatedly

asserts that he attempted to contact his attorneys to let them know that he “wanted to appeal the

sentence.” [Record No. 877, Declaration of Robert Demling] However, this expression of a

desire to appeal fails to meet the threshold for deficient performance under Roe because the

Supreme Court has clearly held that “Counsel performs in a professionally unreasonable manner

only by failing to follow the defendant’s express instructions.” Roe, 528 U.S. at 478 (emphasis

added).

       Further, Demling’s contention that the Sixth Circuit’s holding in Regalado is contrary

to the Supreme Court’s decision in Roe is without merit. In Roe, the Supreme Court expressly

rejected a per se rule requiring counsel to file notices of appeal in all criminal cases. Id. Rather,

the Court held that counsel is required to consult with a defendant, including “advising the

defendant about the advantages and disadvantages of taking an appeal, and making a reasonable

effort to discover the defendant’s wishes.” Id. Then, as previously noted, “[i]f counsel has

consulted with the defendant, the question of deficient performance is easily answered: Counsel

performs in a professionally unreasonable manner only by failing to follow the defendant’s

express instructions with respect to an appeal.” Id.

       In the present case, it is undisputed that Demling consulted with his attorneys after the

sentencing and decided not to file an appeal. Although Demling asserts that he repeatedly



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contacted his attorneys later to express his desire to appeal, he never claims that he actually

instructed his attorneys to file an appeal on his behalf. Therefore, under the Supreme Court’s

reasoning in Roe and the Sixth Cicuit’s analysis in Regalado, his counsel’s performance cannot

be considered deficient because they consulted with Demling, and Demling never offered

express instructions to file an appeal. Accordingly, Demling cannot meet the first prong under

the Strickland test and his claim for ineffective assistance must fail.

       Demling also objects to the Magistrate Judge’s determination that his sentence was proper

despite the Court’s consideration of three prior DUI convictions and its departure from the

mandatory minimum rather than the applicable guideline range. Both these arguments are

without merit. First, it is well-established that a district court can calculate a defendants criminal

history score based on prior convictions without the defendant admitting to them. See United

States v. Barnett, 398 F.3d 516, 524-25 (6th Cir. 2005). As the Magistrate Judge noted, the real

issue appears to be whether one of the DUIs fell outside the relevant ten year period. See

U.S.S.G. § 4A1.2E. However, the Court noted this discrepancy at the sentencing hearing and

further noted that the single DUI would not change the criminal history category. [Record No.

791, pp 13-14]

       Moreover, as the Magistrate Judge noted, any argument concerning the criminal history

calculation is irrelevant because the Court was required to start from the mandatory minimum

in considering the government’s motion for a downward departure. In United States v. Stewart,

306 F.3d 295 (6th Cir. 2002), the Sixth Circuit held that the “appropriate starting point for




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calculating a downward departure under 18 U.S.C. § 3553(e) is the mandatory minimum

sentence itself.” Stewart, 306 F.3d at 332.

       In his objections, Demling does not contest the Magistrate Judge’s legal conclusion

regarding the application of Stewart and the mandatory minimum. Rather, he contends that there

were “implicit promises and expectations” and that the sentencing Court failed to properly

conduct a colloquy with him regarding the downward departure. [Record No. 878] He claims

that “[t]he colloquy in this case was silent in regards to the expectations of Movant as to the

departure and its threshold.” [Record No. 878]

       Rule 11 of the Federal Rules of Criminal Procedure requires that a district court verify

that a defendant’s plea is voluntary and that the defendant understands his or her applicable

constitutional rights, the nature of the crime charged, the consequences of the guilty plea, and

the factual basis for concluding that the defendant committed the crime charged. United States

v. Goldberg, 862 F.2d 101, 106 (6th Cir. 1988); Fed. R. Crim. Pro. 11. In Ramos v. Rogers, 170

F.3d 560, 565 (6th Cir. 1999), the Sixth Circuit held that a trial court’s proper plea colloquy

cures any misunderstandings that a defendant may have about the consequences of a plea.

       Here, the government and the Court carefully instructed the Defendant on the terms of

his plea agreement and the law regarding the application of downward departures at the re-

arraignment. In summarizing the agreement, the government specifically noted that Demling

agreed and acknowledged that if he “provides substantial assistance, the United States will file

a motion under 5K1.1 as well as Title 18, Section 3553(e) where I would ask the Court to

sentence him below any mandatory minimum or Sentencing Guidelines that might otherwise be



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applicable.” [Record No. 791, p.11 (emphasis added)] In response, Demling clearly asserted that

no other promises had been made and that he understood the terms of the agreement. [Id. at p.

12] Accordingly, Demling’s claim that he did not understand the terms of his agreement or the

potential application of the mandatory minimums fails.

         IV.    Evidentiary Hearing

         Demling next objects to the Magistrate Judge’s conclusion that an evidentiary hearing

is not warranted under the circumstances presented. “A district court may, in the context of a

habeas proceeding, permit discovery, provided that the habeas petitioner presents specific

allegations showing reason to believe that the facts, if fully developed, may lead the district court

to believe that federal habeas relief is appropriate.” Lott v. Coyle, 261 F.3d 594, 602 (6th Cir.

2001).

         Here, although the Court agrees with the Magistrate Judge’s conclusion that jurists may

differ regarding the Court’s application of Regalado and Roe, there are no facts at issue that

would lead the court to believe that habeas relief would be appropriate. Demling claims that

an expression of a desire to appeal is sufficient to establish a constitutional violation, and he

repeatedly asserts facts to that effect. The Court has accepted those facts as true, that is, that

Demling attempted to contact his attorneys to express his desire to appeal. However, because

Demling has failed to offer any evidence or assertions that he ever actually, expressly instructed

his attorneys to appeal, the Court finds that he cannot establish that his counsel’s performance

was deficient. Accordingly, no discovery is required because the facts are not in dispute and

there are no allegations that would alter the Court’s conclusion.



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       V.      Certificate of Appealability

       Finally, as previously noted, the Magistrate Judge found that a certificate of appealability

should issue on Demling’s claim for ineffective assistance of counsel because reasonable jurists

could differ regarding the distinction between a “desire to appeal” and “express instructions” to

appeal. This Court agrees with the Magistrate Judge’s reasoning and analysis. To be entitled

to a certificate of appealability, a petitioner must demonstrate that “jurists would find the district

court’s assessment of the constitutional claims debatable or wrong.” Slack v. McDaniel, 529

U.S. 473, 484 (2000). Although the Court is confident that it and the Magistrate Judge have

carefully tracked the language and analysis in Roe and Regalado, it cannot be said that

reasonable jurists could not reach a different conclusion. Therefore, the Court will issue a

certificate of appealability as to that issue only.

       VI.     Conclusion

       Accordingly, having reviewed the Magistrate Judge’s Recommended Disposition,

together with the objections and reply brief filed by Demling, the record, and the applicable law

de novo, it is hereby

       ORDERED as follows:

       1.      The Recommended Disposition and Supplement to the Recommended Disposition

of United States Magistrate Judge Robert E. Wier [Record Nos. 853, 873] are ADOPTED and

INCORPORATED by reference.

       2.      Demling’s objections [Record Nos. 856, 877, and 878] to the Magistrate Judge’s

Report and Recommendation are DENIED.



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       3.      Demling’s motion to vacate, set aside, or correct sentence, pursuant to 28 U.S.C.

§ 2255 [Record No. 778] is DENIED.

       4.      Demling’s request for an evidentiary hearing is DENIED because there are no

allegations that, if fully developed, could lead the court to believe that habeas relief is warranted.

       5.      A certificate of appealability shall issue as to Demling’s claim for ineffective

assistance of counsel.

       6.      This judgment is final; and

       7.      This matter is STRICKEN from the active docket.

       This 2nd day of January, 2008.




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